
718 S.E.2d 394 (2011)
STATE of North Carolina
v.
George Brian WILLIAMS.
No. 389P11.
Supreme Court of North Carolina.
November 9, 2011.
Ryan McKaig, for Williams, George Brian.
Kenneth A. Sack, Assistant Attorney General, for State of North Carolina.
Thomas J. Keith, District Attorney, for State of North Carolina.

ORDER
Upon consideration of the petition filed on the 6th of September 2011 by Defendant in this matter for discretionary review of the decision of the North Carolina Court of Appeals pursuant to G.S. 7A-31, the following order was entered and is hereby certified to the North Carolina Court of Appeals:
"Denied by order of the Court in conference, this the 9th of November 2011."
